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                                             EXHIBIT B


                                  Redline Sale Order – Successful Bid




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

CENTER CITY HEALTHCARE, LLC d/b/a                          Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL,
et al.,1                                                   Jointly Administered

                                         Debtors.          Re: Docket Nos. 142, 246, 249 & 590




     ORDER UNDER 11 U.S.C. § 105, 106, 363, 365, 503, 507, AND 525 (A) APPROVING
     ASSET PURCHASE AGREEMENT WITH THOMAS JEFFERSON UNIVERSITY
       HOSPITALS, INC., (B) AUTHORIZING SALE OF CERTAIN OF DEBTOR’S
          ASSETS FREE AND CLEAR OF INTERESTS, (C) AUTHORIZING
        ASSUMPTION AND ASSIGNMENT OF CERTAIN OF THE DEBTOR’S
        EXECUTORY CONTRACTS, AND (D) GRANTING RELATED RELIEF

             Upon the motion (the “Sale Motion”)2 of Center City Healthcare, LLC, d/b/a Hahnemann

University Hospital (the “Debtor”), for, inter alia, entry of an order, pursuant to sections 105,

363, 365, 503 and 507 of title 11 of the United States Code (the “Bankruptcy Code”): (i)

approving the sale by the Debtor to Thomas Jefferson University Hospitals, Inc. or its permitted

assignee (the “Purchaser”) of the certain assets (the “Purchased Assets”), as defined in and

pursuant to that certain Asset Purchase Agreement attached hereto as Exhibit A (the

“Agreement”) free and clear of all Interests (defined below) (except those expressly assumed by

the Purchaser), and (ii) authorizing the assumption by the Debtor and assignment to the

Purchaser of certain executory contracts free and clear of all Interests (except those expressly

1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617),
SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC
Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA,
L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V
of PA, L.L.C. (5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.
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 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Sale Motion or
the Agreement (defined below) as applicable.


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assumed by the Purchaser), and (iii) granting certain related relief; and the Court having held a

hearing on September 4, 2019 (the “Sale Hearing”) to approve the Sale Motion; and the Court

having reviewed and considered (a) the Sale Motion, (b) the objections to the Sale Motion, if

any, and (c) the arguments of counsel made, and the evidence proffered or adduced at the Sale

Hearing; and it appearing that the relief requested in the Sale Motion is in the best interests of the

Debtor, its estate and creditors and other parties in interest; and upon the record of the Sale

Hearing and after due deliberation thereon; and good cause appearing therefore,


IT IS HEREBY FOUND AND DETERMINED THAT:

                          A.       This Court has jurisdiction over the Sale Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference dated February 29, 2012, from

the United States District Court for the District of Delaware. Venue is proper pursuant to 28

U.S.C. §§ 1408 and 1409. This is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A), (M), (N)

and (O), and the Court may enter a final order consistent with Article III of the United States

Constitution. The statutory predicates for the relief granted herein are Sections 105, 106, 363,

365, 503, 507, and 525 of the Bankruptcy Code.

                          B.       The findings and conclusions set forth herein constitute the Court’s

findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to

this proceeding pursuant to Bankruptcy Rule 9014.

                          C.       Proper, timely, adequate and sufficient notice of the Sale Motion, the Sale

Hearing and the Debtor’s potential assumption and assignment (or assignment, as applicable) of

the contracts listed on Exhibit B hereto (the “Assigned Contracts”) to the Purchaser has been

provided in accordance with sections 102(1), 363, 365, 503, and 507 of the Bankruptcy Code and

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) 2002, 6004, 6006, 9008 and


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9014 and the order of this Court dated July 19, 2019 (the “Bidding Procedures Order”), and no

other or further notice of the Sale Motion, the Sale Hearing, or of the entry of this Order is

required.

                          D.       A reasonable opportunity to object or be heard regarding the relief

requested in the Sale Motion has been afforded to all interested persons and entities, including:

(a) all entities known to have expressed an interest in a transaction with respect to some or all of

the Debtors’ Purchased Assets during the past six (6) months; (b) all entities known to have

asserted any Interest in or upon any of the Debtors’ Purchased Assets; (c) all federal, state, and

local regulatory or taxing authorities or recording offices which have a reasonably known

interest in the relief requested by this Motion; (d) known counterparties to any unexpired leases

or executory contracts related to the Purchased Assets that could potentially be assumed and

assigned to the Successful Bidder; (e) counsel to MidCap Funding IV Trust; (f) Drexel

University d/b/a Drexel University College of Medicine; (g) the Debtor’s and its debtor-

affiliates’ unions and pension funds; (h) the Internal Revenue Service; (i) the United States

Attorney for the District of Delaware; (j) the United States Department of Justice; (k) the

Pennsylvania Attorney General’s Office; (l) the Pennsylvania Department of Human Services;

(m) the City of Philadelphia; (n) the CMS; (o) the ACGME; (p) all Residents, (q) all known

creditors of the Debtor, including Known Patient Creditors (as defined in the Bidding Procedures

Order); (r) the Pension Benefit Guaranty Corporation (the “PBGC”); and (s) any party that has

requested notice pursuant to Bankruptcy Rule 2002.

                          E.       The Debtor also caused notice of the Sale Motion to be published in The

Philadelphia Inquirer and USA Today, which notice by publication is reasonable and sufficient

to bind holders of claims against the Debtor whose identity was not known to the Debtor as of



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the day before the Mailing Date, including Unknown Patients (as defined in the Bidding

Procedures Order).

                          F.       The Debtor has full corporate power and authority to execute the

Agreement and all other documents contemplated thereby and consummate the transactions

contemplated therein and the sale of the Purchased Assets and assumption and assignment (or

assignment, as applicable) to the Purchaser of any Assigned Contracts as provided in the

Agreement (defined below) (collectively, the “Sale”) has been duly and validly authorized by all

necessary corporate action of the Debtor and no consents or approvals, other than the approval of

this Court, are required for the Debtor to consummate such transactions.

                          G.       The Purchaser is not a successor to or mere continuation of the Debtor or

its estate.

                          H.       The bidding procedures established pursuant to the Bidding Procedures

Order afforded a full, fair and reasonable opportunity for any entity to make a higher or better

offer to purchase the Purchased Assets and Assigned Contracts and no higher or better offer has

been made.

                          I.       The Debtor has demonstrated that it is an exercise of its sound business

judgment to assume and assign the Assigned Contracts and sell the Purchased Assets to the

Purchaser in connection with the consummation of the Agreement, and that approval of the

Agreement and the Sale pursuant thereto is in the best interests of the Debtor, its estate, and its

creditors.

                          J.       The Sale must be completed immediately in order to preserve the value of

the Purchased Assets and to provide certainty to former Hahnemann University Hospital

Residents regarding the status of their tail insurance coverage and, as a result, good and



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sufficient business justification exists for the immediate sale of the Purchased Assets and

assumption and assignment (or assignment, as applicable) of the Assigned Contracts to the

Purchaser outside of a plan of reorganization.

                          K.       The Purchaser is not an insider, as that term is defined in the Bankruptcy

Code, of the Debtor. Furthermore, no insiders of the Debtor are receiving or retaining any

benefit, property or payments in connection with the Sale except to the extent such insiders have

allowed claims against or equity interests in the Debtor and, as a result, may participate in a

distribution of Sale proceeds.

                          L.       The Agreement was negotiated, proposed and entered into by the Debtor

and Purchaser without collusion, in good faith, and as a result of arm’s-length bargaining. The

Purchaser is a good faith purchaser under section 363(m) of the Bankruptcy Code and, as such, is

entitled to the protections afforded thereby with respect to the transactions authorized by this

Order (including specifically, but without limitation, any assumption and assignment of

executory contracts under section 365 of the Bankruptcy Code). Neither the Debtor nor the

Purchaser has engaged in any conduct that would cause or permit the Agreement to be avoided

under section 363(n) of the Bankruptcy Code.

                          M.       In the absence of a stay pending appeal, the Purchaser will be acting in

good faith within the meaning of section 363(m) of the Bankruptcy Code in closing the

transactions contemplated by the Agreement at any time after the entry of this Order, provided

the Purchaser shall not be obligated to close until all applicable conditions to closing under such

Agreement have been satisfied or waived as provided in such Agreement.                        In closing the

transactions contemplated by the Agreement absent satisfaction of the condition of CMS

consent, the Purchaser shall be deemed to have materially relied on the findings and decrees in



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this Order, including specifically, but without limitation, (i) the finding that there has not been,

and will not be, a cessation of business of Hahnemann University Hospital at any time prior to

the Actual Closure Date (defined below)Closing, and the Participating Provider Agreement

therefore is in full force and effect; (ii) the finding and decrees that legacy Hahnemann

University Hospital residency slots temporarily following displaced Residents shall revert to the

Purchaser upon conclusion of each such Resident’s participation in their programs, and, subject

only to the temporary displacement described in the preceding clause, the Purchaser shall be

entitled to be paid by CMS for GME funding at aggregated legacy Hahnemann University

Hospital and Thomas Jefferson University Hospital residency slot counts; and (iii) the findings

and decrees capping the Purchaser’s liability to CMS for claims arising prior to the Closing to

the CMS Pre-Closing Amount. The aggregation of the legacy Hahnemann University Hospital

residency slots with the Thomas Jefferson University Hospital residency slots and the limitation

of “successor liability” for pre-Closing amounts were integral components of the bargain struck

by the Purchaser for the purchase of the Purchased Assets, without which it would not have

entered into the Agreement.

                          N.       The consideration provided by the Purchaser for the Purchased Assets

being purchased, including the Assigned Contracts, pursuant to the Agreement constitutes the

best and highest offer for the Purchased Assets and the Assigned Contracts and reasonably

equivalent value and fair consideration under the Bankruptcy Code and under the laws of the

United States, any state, territory, possession thereof, and the District of Columbia.

                          O.       The Debtor may sell the Purchased Assets and Assigned Contracts free

and clear of all Interests (including, without limitation, those (i) that purport to give to any party

a right or option to effect any forfeiture, modification or termination of the Debtor’s or the



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Purchaser’s interest in the Purchased Assets and/or Assigned Contracts and, (ii) in respect of

Taxes), because each entity with an Interest in any of the Purchased Assets and/or Assigned

Contracts, including but not limited to CMS or any Governmental Body, accrediting body, or

other third party, as applicable, has consented to the Sale, is deemed to have consented to the

Sale, has a claim which is subject to a bona fide dispute, or could be compelled in a legal or

equitable proceeding to accept a money satisfaction of such Interest. For the avoidance of doubt,

HHS and CMS (as defined below) have not, and are not deemed to have, consented to the Sale.

                          P.       The Debtor has good and transferable title to the Purchased Assets and

Assigned Contracts (including specifically, but without limitation, the Participating Provider

Agreement) and, accordingly, the transfer of the Purchased Assets and assignment of the

Assigned Contracts to the Purchaser pursuant to the Agreement will be a legal, valid, and

effective transfer of the Purchased Assets and assignment of the Assigned Contracts.

                          Q.       Neither the transfer of the Purchased Assets nor the assignment of the

Assigned Contracts pursuant to the Agreement will subject the Purchaser, its Affiliates, the

Consortium or an of its members to any liability (except those expressly assumed by the

Purchaser pursuant to the Agreement (the “Assumed Liabilities”)) for claims against the Debtor

or the Debtor’s predecessors or affiliates of any kind or character, whether known or unknown,

now existing or hereafter occurring, whether fixed or contingent, based, in whole or in part,

directly or indirectly, on any theory of law, including, without limitation, any theory of

successor, vicarious or transferee liability. Without limiting the general nature of the foregoing,

neither the transfer of the Purchased Assets nor the assignment of the Assigned Contracts will

subject the Purchaser, its Affiliates, or the Consortium or its members, to any (1) liability on

account of any employee benefit plan maintained by the Debtor, or the Debtor’s predecessors or



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affiliates, including but not limited to any liability related to benefits, underfunding, termination

and/or termination premiums, regardless when such claims are deemed to have accrued and

regardless whether such would be considered “claims” as such term is defined in the Bankruptcy

Code, to (i) the PBGC, or (ii) to any plan participant or beneficiary (collectively, the “PBGC

Claims”); (2) claims, administrative proceedings or actions brought by or on behalf of any

Governmental Body, accrediting body, or other third party relating to the operation of the

Business prior to Closing, subject only to collection of an amount not exceeding, in the aggregate

with collections therefrom pursuant to the immediately following clause, the CMS Pre-Closing

Amount from the Escrow Account; (3) claims relating to the Participating Provider Agreement

for services rendered or amounts paid to Seller prior to the Closing in any amount in excess,

together with other collections therefrom pursuant to the immediately preceding clause, of the

CMS Pre-Closing Amount; and/or (4) claims or actions or proceedings brought under or related

to Medicare/Medicaid statutes or regulations or the statutes and regulations applicable to other

governmental health care reimbursement programs including enforcement actions and

administrative agency rulings or interpretations.

                          R.       The Purchaser has provided adequate assurance of future performance

under the Assigned Contracts, to the extent required by Section 365(b)(1)(C) of the Bankruptcy

Code.

                          S.       Upon the assumption and assignment (or assignment, as applicable) of the

Assigned Contracts, as provided herein, the Purchaser shall succeed to all of the right, title and

interest of the Debtor under the Assigned Contracts including, without limitation, the right to

exercise renewal options which, pursuant to any provision of the applicable Assigned Contract or

applicable nonbankruptcy law, are not exercisable by assignees of the Debtor, the Court having



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found that such provisions, as they relate to the assumption and assignment (or assignment, as

applicable) to the Purchaser of the Assigned Contracts, are unenforceable pursuant to Section

363(l), 365(e)(1), or 365(f)(3) of the Bankruptcy Code, as applicable.

                          T.       As to the Participating Provider Agreement and the objection of the

United States of America (“United States”), on behalf of the Department of Health and Human

Services (“HHS”), acting through its designated component, the Centers for Medicare &

Medicaid Services (“CMS”), specifically, and without limiting the generality of any of the

foregoing paragraphs that are otherwise applicable:

                                   (i)    the Participating Provider Agreement is not an executory contract

             within the meaning of section 365 of the Bankruptcy Code because the parties thereto do

             not have any material performance obligations under such agreement, as distinct from

             their obligations under the applicable Medicare statutes and regulations, see In re B.D.K.

             Health Management, Inc., No. 98-00609-6B1, 1998 WL 34188241, *6-7 (Bankr. M.D.

             Fla. Nov. 16, 1988); accordingly, the Debtors need not satisfy the requirements of section

             365 in order to assign the Participating Provider Agreement to the Purchaser in

             accordance with the Agreement;

                                   (ii)   to the extent the requirements of section 365 of the Bankruptcy

             Code are applicable to the assignment of the Participating Provider Agreement to the

             Purchaser, such requirements are satisfied; specifically, (A) the maximum amount

             necessary to satisfy any cure obligations under section 365(b)(1) of the Bankruptcy Code

             is $3,000,000 (which constitutes the maximum “CMS Pre-Closing Amount,” within the

             meaning of the Agreement), and the Escrow Account to be established pursuant to the

             Agreement provides adequate assurance of payment of such amounts, if and to the extent



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             they become payable to CMS, which cure amount and adequate assurance of payment

             were not contested by CMS, (B) section 365(c)(1) is inapplicable to the Participating

             Provider Agreement because applicable law does not excuse CMS from accepting

             performance from or rendering performance to an entity other than the Debtor, compare

             In re ANC Rental Corp., 277 B.R. 226, 236 (Bankr. D. Del. 2002) (“[F]or section

             365(c)(1) to apply, the applicable law must specifically state that the contracting party is

             excused from accepting performance from a third party . . . .”) with 42 C.F.R. § 489.18(c)

             (containing no such statement, and in fact expressly contemplating CMS’s acceptance of

             performance from or rendering performance to a third party in certain circumstances),

             and thus does not preclude the Debtor’s assumption of the Participating Provider

             Agreement, (C) the evidence adduced at the Sale Hearing regarding the Purchaser

             establishes adequate assurance of future performance under the Participating Provider

             Agreement within the meaning of section 365(f)(2)(B), which was not contested by CMS,

             and (D) any provision of the Participating Provider Agreement or applicable law that

             would provide for the termination or modification of (or would permit CMS to terminate

             or modify) the Participating Provider Agreement as a result of the assignment thereof to

             the Purchaser is invalidated by section 365(f)(3) of the Bankruptcy Code;

                                   (ii)     the transfer of the Participating Provider Agreement does not

             violate the federal Anti-Assignment Act;

                                   (iii)   the transaction contemplated by the Agreement (the “Transaction”)

             constitutes a “change of ownership” within the meaning of 42 C.F.R. § 489.18(a) (a

             “CHOW”), as a result of which the legacy Hahnemann University Hospital residency

             slots temporarily following each displaced Resident shall revert to the Purchaser upon



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             conclusion of each such Resident’s participation in their respective program, and, subject

             only to temporary displacements referred to in the preceding clause, the Purchaser shall

             be entitled to be paid by CMS for GME funding at aggregated legacy Hahnemann

             University Hospital and Thomas Jefferson University Hospital residency slot counts;

                                   (iv)   any so-called “successor liability” under C.F.R. § 489.18(d) as a

             result of the CHOW is subject to limitation by operation of applicable provisions of the

             Bankruptcy Code, as set forth in this Order;

                                   (v)    whether or not the Participating Provider Agreement is executory,

             it may be assigned to the Purchaser free and clear of any alleged claim of CMS arising

             prior to the Closing (A) for amounts in excess of $3,000,000 (the “CMS Pre-Closing

             Amount, because (A”) or (B) brought or made following distribution of funds in the

             Escrow Account to the Debtor pursuant to the terms of the Agreement and the Escrow

             Agreement, because (X) a debtor’s rights under a contract are property that may be sold

             pursuant to section 363 of the Bankruptcy Code, (BY) any alleged claims in excess of the

             CMS Pre-Closing Amount are the subject of a bona fide dispute, and (CZ) CMS could be

             compelled in a legal or equitable proceeding to accept a money satisfaction of such

             claims; accordingly, sale of the Participating Provider Agreement free and clear of any

             alleged claim of CMS for amounts in excess of the Pre-Closing Amount is permitted by

             sections 363(f)(4) and (f)(5) of the Bankruptcy Code;

                                   (vi)   as of the date of entry of this order, there has been no cessation of

             business of Hahnemann University Hospital; accordingly, 42 C.F.R §§ 489.52(b)(3) and

             413.79(h) do not apply and have not resulted in the termination of the Participating




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             Provider Agreement, which is in full force and effect, and not subject to pending actions

             of termination;

                                   (vii)   unless between the entry of this Order and the Closing there has

             been both (A) a material change in the operation of Hahnemann University Hospital and

             (B) a surrender by Hahnemann University Hospital of its hospital licenseas of the

             Closing, then there shall be deemed not to have been no any cessation of business of

             Hahnemann University Hospital as of the Closing; accordingly, 42 C.F.R §§ 489.52(b)(3)

             and 413.79(h) will shall be deemed not to apply and will not to have not resulted in the

             termination of the Participating Provider Agreement at any time prior to Closing; and,

             which shall be deemed in full force and effect, and not subject to pending actions of

             termination;

                                   (viii) at Closing, the Purchaser shall be entitled to rely conclusively on a

             certification from an officer of the Seller stating that, between the entry of this Order and

             the Closing, there has been (A) no material change in the operation of Hahnemann

             University Hospital and (B) no surrender by Hahnemann University Hospital of its

             hospital license;

                          NOW, THEREFORE, IT IS HEREBY ADJUDGED, ORDERED, AND

DECREED THAT:

                          1.       The Sale Motion, and the relief sought therein (including approval of the

Sale) is GRANTED, in all respects as set forth herein.

                          2.       All objections to the Sale Motion or the relief requested therein that have

not been withdrawn with prejudice, waived, or settled, and all reservations of rights included

therein, are overruled on the merits.



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                          3.       The Agreement, and all of the terms and conditions thereof, is hereby

approved.

                          4.       Pursuant to Sections 105(a), 363(b) and 365 of the Bankruptcy Code, the

Debtor is authorized and directed to take all actions necessary to consummate the Sale pursuant

to and in accordance with the terms and conditions of the Agreement.

                          5.       In the event Purchaser fails to consummate the Sale on the terms and

conditions of the Agreement, the Debtors, in consultation with the Committee, may designate

Reading Hospital (the “Backup Bidder”) as the Successful Bidder for all purposes herein

pursuant to the terms of its backup bid attached hereto as Exhibit C (the “Backup Bid”). Upon

such designation, the Debtors shall be authorized, but not required, to submit, in consultation

with the Committee and under certification of counsel, an alternative form of proposed sale

order, substantially in the form previously submitted with the Court [D.I. 246], modified to

conform to the terms of the Backup Bid, authorizing the Debtors to consummate all transactions

contemplated by the Backup Bid. In such case, the Purchaser’s deposit shall be forfeited to the

Debtors as set forth in the Bidding Procedures.

                          6.       As of the date of closing under the Agreement (the “Closing Date”), the

Assigned Contracts that are executory contracts or unexpired leases shall be deemed to have

been assumed by the Debtor and assigned to the Purchaser pursuant to Section 365(f) of the

Bankruptcy Code. Pursuant to section 365(k) of the Bankruptcy Code, the Debtor and the

Debtor’s estate shall be relieved from any liability for any breach of such an Assigned Contract

occurring after the effective date of the Closing Date. As of the Closing Date, the Assigned

Contracts that are not executory contracts or unexpired leases shall be deemed to have been

assigned to the Purchaser pursuant to section 363(b) of the Bankruptcy Code.



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                          7.       On the Closing Date, from the Purchase Price, the Purchaser shall pay to

the Escrow Agent the Escrow Amount, which shall be deemed to include an amount equal to the

maximum cure amounts (the “Maximum Cure Amounts”) that would be assertable by the non-

debtor party to each other Assigned Contract that is an executory contract, as such Maximum

Cure Amounts are stated on Exhibit B. For the avoidance of doubt, the Maximum Cure

Amounts stated on Exhibit B shall be the maximum amount of any subsequently allowed claim

to which any non-debtor party to an Assigned Contract that is an executory contract shall be

entitled pursuant to Section 365(b)(1)(A) of the Bankruptcy Code, to the extent applicable. To

the extent a Maximum Cure Amount is stated on Exhibit B for the Participating Provider

Agreement, such Maximum Cure Amount shall be deemed to be the CMS Pre-Closing Amount

for purposes of the Agreement.

                          8.       Upon the Closing (i) all defaults under the related Assigned Contracts

required to be cured pursuant to Section 365(b)(1)(A) of the Bankruptcy Code shall be deemed

cured and all amounts due to the non-debtor parties to such Assigned Contracts pursuant to

Section 365(b)(1)(B) on account of any pecuniary loss resulting from such defaults shall be

deemed paid in full, and (ii) each non-debtor party to such Assigned Contracts that is an

executory contract shall be forever bound by such Maximum Cure Amounts and enjoined from

seeking to terminate such Assigned Contract or enforce any other remedies under such Assigned

Contract against the Purchaser on account of defaults by the Debtor, including defaults as to

which, pursuant to Section 365(b)(1)(A) of the Bankruptcy Code, cure is not required.

                          9.       Upon payment by the Purchaser of the Escrow Amount to the Escrow

Agent, the non-debtor parties to, and beneficiaries of, such Assigned Contracts that are executory

contracts, including any Governmental Body, accrediting body, or other third party, shall be (i)



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forever bound by the Maximum Cure Amounts, and (ii) enjoined from seeking (A) recourse

against the Purchaser, its Affiliates, or the Consortium or its members, on account of any defaults

by the Debtor under the related Assigned Contracts required to be cured pursuant to Section

365(b)(1)(A) of the Bankruptcy Code and/or any pecuniary loss resulting from such defaults due

to such non-debtor party pursuant to Section 365(b)(1)(B) of the Bankruptcy Code (including on

account of overpayments under the Participating Provider Agreement) in excess of the related

Maximum Cure Amount, (B) recourse against the Purchaser, its Affiliates, or the Consortium or

its members for successor, vicarious, or transferee, relating to claims, administrative proceedings

or actions relating to the operation of the Business prior to Closing, and/or (C) to terminate such

Assigned Contract or enforce any other remedies under such Assigned Contract against the

Purchaser on account of defaults by the Debtor, including defaults as to which, pursuant to

Section 365(b)(1)(A) of the Bankruptcy Code, cure is not required.                          The foregoing

notwithstanding, CMS shall be entitled to offset overpayments of amounts under the

Participating Provider Agreement which occurred prior to the Closing Date against amounts due

to the Purchaser under the Participating Provider Agreement for periods on and after the Closing

Date in amounts up to, but not exceeding, the CMS Pre-Closing Amount.

                          10.      [RESERVED]

                          11.      Any provision in any Assigned Contract that purports to declare a breach,

default or payment right as result of an assignment or a change of control in respect of the Debtor

as relates to the assumption of any Assigned Contract by the Debtor and assignment of such

Assigned Contract to the Purchaser is unenforceable, and all such Assigned Contracts shall

remain in full force and effect, notwithstanding any such provision. No sections or provisions of

any Assigned Contract that purports to provide for additional payments, rent accelerations,



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assignment fees, increases, payments, deposits, security, charges or any other fees charged to the

Purchaser or the Debtor as a result of the assumption and the assignment (or assignment, as

applicable) of the Assigned Contracts to the Purchaser shall have any force and effect with

respect to the transactions contemplated by the Agreement and assignments authorized by this

Order, and such provisions are unenforceable under Section 363(l), 365(e)(1), 365(f), or

541(c)(1) of the Bankruptcy Code, as applicable.

                          12.      Except for the Assumed Liabilities, pursuant to (and to the maximum

extent permitted by) sections 105(a) and 363(f) of the Bankruptcy Code, upon the Closing under

the Agreement, the Purchased Assets and the Assigned Contracts shall be free and clear of all

interests of any entity other than the estate (collectively, “Interests”), including, without

limitation, any (i) mortgages, security interests, conditional sale or other title retention

agreements, pledges, liens, rights of offset, judgments, demands, encumbrances and claims (as

that term is defined in the Bankruptcy Code); (ii) successor, vicarious, or transferee liability

against the Purchaser, its Affiliates, or the Consortium or its members, whether known or

unknown, now existing or hereafter occurring, whether fixed or contingent, based, in whole or in

part, directly or indirectly, on any theory of law, relating to claims, administrative proceedings or

actions brought by or on behalf of any Governmental Body, accrediting body, or other third party

relating to the operation of the Business prior to Closing; (iii) rights or options to effect any

forfeiture, modification, repurchase, or termination of the Debtor’s or Purchaser’s interest in the

Assigned Contracts and/or Purchased Assets, regardless whether such are “claims” as that term is

defined in the Bankruptcy Code, (iv) PBGC Claims, (v) claims in respect of Taxes (including

taxes as to which applicable returns have not yet been filed, whether or not overdue); (vii) claims

relating to the Participating Provider Agreement in excess of the CMS Pre-Closing Amount or



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brought or made following distribution of funds in the Escrow Account to the Debtor pursuant to

the terms of the Agreement and the Escrow Agreement; (viii) claims or actions or proceedings

brought under Medicare/Medicaid statutes or regulations or the statutes and regulations

applicable to other governmental health care reimbursement programs including enforcement

actions and administrative agency rulings or interpretations; and (ix) easements, restrictions,

rights of first refusal or charges of any kind or nature, if any, including, but not limited to, any

restriction on the use, voting, transfer, receipt of income or other exercise of any attributes of

ownership, regardless whether such are “claims” as that term is defined in the Bankruptcy Code,

with all such Interests to attach to the Net Proceeds of Sale (defined below) in the order of their

respective priorities, with the same validity, force and effect (if any) which they now have

against the Purchased Assets and Assigned Contracts, subject to any claims and defenses the

Debtor may possess with respect thereto. The “Net Proceeds of Sale” is the Base Purchase Price,

plus the adjustment pursuant to the section 3.2(d) of the Agreement, minus the Escrow Amount,

minus Tail Coverage Costs paid from the Base Purchase Price, minus the $225,000 break-up fee

payable to Reading Hospital, plus any amounts distributed by the Escrow Agent to the Debtor

after Closing. For the avoidance of doubt: (i) the Debtors may use a portion of the Base

Purchase Price, not to exceed the Tail Coverage Costs, to purchase the Tail Coverage

Endorsement in accordance with the Agreement; and (ii) the Escrow Amount shall not be

property of the Debtor’s estate and no Interests shall attach to the Escrow Amount unless and

until such funds are distributed to the Debtor pursuant to the terms of the Agreement and the

Escrow Agreement. The Net Proceeds of Sale and any amounts reimbursed to the Debtors from

the Purchaser with respect to its Tail Coverage Costs shall be deposited into the disbursements

account maintained by the Debtors at Wells Fargo Bank, N.A., and shall not be swept by



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MidCap Funding IV Trust or any of its affiliates (collectively “MidCap”), and shall not

otherwise be disbursed except: (a) as to operating disbursements, by agreement of the Debtors

and MidCap in consultation with the Committee, and otherwise by agreement of the Debtors,

MidCap and the Committee; or (b) pursuant to further Court order. All rights of the Debtors,

MidCap and the Committee are expressly reserved with regard to the extent, priority and validity

of any lien asserted by MidCap with respect to the Purchased Assets and the Net Proceeds of

Sale. Upon entry of a final order ruling that MidCap has a valid, perfected lien against the Net

Proceeds of Sale, the remaining Net Proceeds of Sale shall be disbursed to MidCap up to the

aggregate amount of MidCap’s claims against the Debtors.                      Any fees payable, or costs

reimbursable, to SSG Advisors, LLC on account of or related to the Sale shall be paid from the

Net Proceeds of Sale, upon allowance thereof by Court order.

                          13.      All claims of the Purchaser or any other Purchaser Indemnified Party for

indemnification under the terms of the Agreement or for distributions from the Escrow Funds on

account of Cure Amounts shall be treated as administrative claims pursuant to Section 503 and

507 of the Bankruptcy Code solely to the extent necessary to permit a claim against the Escrow

Amount; provided, however, except as otherwise stated in the Agreement, the sole remedy for

claims by the Purchaser or any other Purchaser Indemnified Party for indemnification for

monetary damages shall be to and against the Escrow Amount and shall be determined and paid

pursuant to the terms of the Agreement and the Escrow Agreement. To the extent of any conflict

between the terms of the Agreement or the Escrow Agreement relating to such determination and

payment of indemnity claims and the Bankruptcy Code or Bankruptcy Rules, the terms of the

Agreement and the Escrow Agreement shall control.




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                          14.      All persons (including, for the avoidance of doubt, governmental agencies

and departments) are hereby enjoined from asserting, prosecuting or otherwise pursuing any

claim against the Purchaser or any member of the Purchaser to recover on any claims (regardless

of when accrued and regardless whether meeting the definition of “claim” under the Bankruptcy

Code) such person had, has or may have (other than an Assumed Liability) against (x) the

Debtor, its estate, officers, directors, shareholders, the Purchased Assets or the Assigned

Contracts, or (y) the Purchaser in connection with the negotiation of, and any agreements

contained in, related to or conditioned upon, the Agreement.

                          15.      As of the Closing Date, each of the Debtor’s creditors is authorized and

directed to execute such documents and take all other actions as may be necessary to release its

Interests in or claims against the Purchased Assets and Assigned Contracts, if any, as such

Interests or claims may have been recorded or may otherwise exist.

                          16.      Each and every federal, state and local governmental agency or

department, together with its agents, contractors, and designees, shall be, and hereby is,

(i) authorized and directed to accept (A) this Sale Order as sufficient evidence of the transfers of

all right, title, and interest in, to, and under the Purchased Assets and the Assigned Contracts, and

(B) any and all documents and instruments necessary and appropriate to consummate the

transactions contemplated by the Agreement; and (ii) authorized to rely on this Sale Order in

consummating, or facilitating the consummation of, the transactions contemplated by the

Agreement.

                          17.      Upon the occurrence of the Closing, all Interests in, against, or upon the

Purchased Assets or the Assigned Contracts shall be unconditionally released, terminated, and

discharged without the need for any further action.                  Notwithstanding the foregoing, at the



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Closing, or as soon as practicable thereafter, (x) the Debtor and the Purchaser are hereby

authorized to execute and file such termination statements, instruments of satisfaction, releases,

or other documents to reflect the unconditional release, termination, and discharge of such

Interests on behalf of such person or entity with respect to the Purchased Assets and the

Assigned Contracts, and (y) the Purchaser is hereby authorized on behalf of each holder of a

purported Interest to file, register, or otherwise record a copy of this Sale Order, which, once

filed, registered, or otherwise recorded, shall constitute conclusive evidence of the unconditional

release, termination, and discharge of all Interests in, against, or upon the Purchased Assets or

the Assigned Contracts. The provisions of this Order authorizing the sale of the Purchased

Assets free and clear of all Interests are self-executing and, notwithstanding the failure of the

Debtor, the Purchaser or any other party to execute, file or obtain termination statements,

instruments of satisfaction, releases, or other documents to reflect the release, termination, and

discharge of any such Interests, all such Interests shall be deemed divested immediately upon

Closing.

                          18.      All entities that are presently, or on the Closing Date may be, in

possession of some or all of the Purchased Assets are hereby directed to surrender possession of

the Purchased Assets to the Purchaser on the Closing Date.

                          19.      As of the Closing Date, all agreements of any kind whatsoever and all

orders of this Court entered prior to the date hereof shall be deemed amended and/or modified to

the extent required to permit the consummation of the transactions contemplated by the

Agreement.

                          20.      Pursuant to, and to the fullest extent permitted by, Sections 105(a) and 525

of the Bankruptcy Code, all governmental units are hereby prohibited from denying, revoking,



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suspending, or refusing to renew any permit, license, or similar grant relating to the operation of

the Purchased Assets or the Assigned Contracts on account of the filing or pendency of the

Bankruptcy Cases, the consummation of the Sale, or the Debtor’s or the Purchaser’s failure to

pay a debt that is dischargeable in the Bankruptcy Cases or was discharged under the Bankruptcy

Code.

                          21.      To the fullest extent permitted by applicable law, the Purchaser shall be

authorized, as of the Closing Date and upon the occurrence of Closing, to operate under any

transferred license, permit, registration and governmental authorization or approval of the Debtor

with respect to the Purchased Assets, and all such licenses, permits, registrations and

governmental authorizations and approvals are deemed to have been, and hereby are, directed to

be transferred to the Purchaser as of the Closing Date.

                          22.      Nothing Subject to paragraph 34 of this Order, nothing in this Order is

intended to abrogate or limit the authority or discretion of the Pennsylvania Department of

Health over regulatory matters such as closure and licensing of health care facilities; provided,

that if CMS or its agents, contractors, or designees seek any administrative action or processing

by the Pennsylvania Department of Health in its capacity as a state survey agency to process the

CHOW and transfer of the Participating Provider Agreement hereby, the Pennsylvania

Department of Health, in such capacity, shall perform such action or processing to give effect to

this Transaction.

                          23.      No law of any state or other jurisdiction relating to bulk sales or similar

laws shall apply in any way to the Transaction, the Sale Motion, and this Order.

                          24.      For the avoidance of doubt, any privileges, protections or immunities of

the Debtor for communications, documents, materials or matters arising at any time, whether



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before or after the Petition Date, including but not limited to any attorney-client privilege, work

product doctrine, common interest or joint defense privilege, relating to any matter whatsoever,

including without limitation any matter relating to the negotiation and implementation of the

Agreement and any of the transactions contemplated thereby or entered into in connection

therewith (collectively, “Privilege”) shall not be Purchased Assets under the Agreement, and any

such Privilege is owned and will continue to be owned by the Debtor, and notwithstanding

anything to the contrary herein or in the Agreement, the Purchaser shall have no interest in or

rights with respect to the Privilege, whether pursuant to this Order, the Agreement, or otherwise.

The Privilege shall remain within the sole control of the Debtor and may not be waived by any

other person or entity.

                          25.      The Agreement and the Escrow Agreement, as well as other agreements

related thereto, may be modified, amended, or supplemented by the Debtor and the Purchaser

without further order of the Court, provided that any such modification, amendment, or

supplement either is (a) not material or (b) not less favorable to the Debtor than the existing

applicable provisions.

                          26.      This Court shall retain jurisdiction (a) to enforce and implement the terms

and provisions of the Agreement, all amendments thereto, any waivers and consents thereunder

and each of the agreements executed in connection therewith, (b) to compel delivery of the

Purchased Assets and Assigned Contracts to the Purchaser, (c) to resolve any disputes arising

under or related to the Agreement, except as otherwise provided therein, and (d) to interpret,

implement and enforce the provisions of this Order.

                          27.      Nothing contained in any plan confirmed in these Bankruptcy Cases or the

order confirming any such plan shall conflict with or derogate from the provisions of the



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Agreement or the terms of this Order. Further, the provisions of this Order and any actions taken

pursuant hereto shall survive the entry of any order which may be entered confirming any plan,

converting the Debtor’s bankruptcy case from chapter 11 to a case under chapter 7 of the

Bankruptcy Code, or providing for dismissal of the Debtor’s bankruptcy case.

                          28.      The terms and provisions of the Agreement, together with the terms and

provisions of this Order, shall be binding in all respects upon, and shall inure to the benefit of,

the Debtor, its estate, its creditors, the Purchaser and its affiliates, successors and assigns, and

any affected third parties including, but not limited to, all persons asserting a claim against or

Interest in the Debtor’s estate or any of the Assigned Contracts and the Purchased Assets and any

trustee appointed for the Debtor under any chapter of the Bankruptcy Code.

                          29.      The failure specifically to include any particular provision of the

Agreement in this Order shall not diminish or impair the effectiveness of such provision, it being

the intent of the Court that the Agreement be authorized and approved in its entirety.

                          30.      The Purchaser is a party in interest and shall have standing to appear and

be heard on all issues related to or otherwise connected with this Order, the Sale or the

Agreement.

                          31.      Participating Provider Agreement and Residency Slots.           CMS, its

applicable Regional Office (“RO”), its Medicare Administrative Contractors (“MACs”), and

their respective agents, contractors, and designees, shall treat, and shall be deemed to have

treated, the Transaction as a CHOW for all Medicare purposes, including merging provider

agreements and graduate medical education (“GME”) caps. Legacy Hahnemann University

Hospital residency slots temporarily following displaced Residents shall revert to the Purchaser

upon conclusion of each such Resident’s participation in their respective programs, and, subject



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only to temporary displacement pursuant to the preceding clause, the Purchaser shall be entitled

to be paid by CMS for GME funding at aggregated legacy Hahnemann University Hospital and

Thomas Jefferson University Hospital residency slot counts.                  CMS, RO, MACs, and their

respective agents, contractors, and designees shall give effect to the Transaction in all regards,

including specifically, but without limitation, the aggregation of the legacy Hahnemann

University Hospital and Thomas Jefferson University Hospital residency slot counts under the

participating provider agreement of Thomas Jefferson University Hospital, and shall take all

steps necessary and convenient to so effecting the Transaction, including, without limitation, the

process as follows:

                                   (a)   RO shall issue, and prior to such issuance shall be deemed to have

             issued, a tie-in notice, effective as of the Closing Date of the Transaction, confirming the

             merger of provider numbers for Hahnemann University Hospital and Thomas Jefferson

             University Hospital;

                                   (b)   As a result of the merger of provider numbers described in the

             immediately preceding paragraph, RO shall retire, and prior to such retirement the RO

             shall be deemed to have retired, the separate provider number of Hahnemann University

             Hospital;

                                   (c)   RO shall instruct the MAC promptly to, and prior to such

             instruction and performance, the RO shall be deemed to have instructed and the MAC

             shall be deemed to have performed, such tasks as are necessary to, (i) update systems to

             change Hahnemann University Hospital’s name, location, electronic funds transfer (EFT)

             account, and payment address to that of the Thomas Jefferson University Hospital;

             (ii) make other updates necessary to effect the merger of provider numbers; (iii) notify



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             Thomas Jefferson University Hospital it may begin submitting under its provider number

             claims associated with the former Hahnemann University Hospital provider number (for

             GME purposes);

                                   (d)    CMS shall adjust, and prior to such adjustment, shall be deemed to

             have adjusted, all indirect and direct GME payments to reflect the aggregation of

             residency slots;

                                   (e)    if and to the extent that CMS, the RO, MACs, or their agents,

             contractors, or designees may require any agreement, certification, consent, instruction,

             recommendation, or other action of any of CMS, the RO, MACs, or their agents,

             contractors, or designees in order to perform such functions as are required hereunder,

             such agreement, certification, consent, instruction, recommendation, or other action shall

             be deemed to have been made, given, or taken, as applicable; and

                                   (f)    CMS, the RO, MACs, and their agents, contractors, and designees,

             are precluded from taking any action prior to the Closing to seek to terminate the

             Participating Provider Agreement for any reason related to any alleged cessation of

             business of Hahnemann University Hospital.

                          32.      Notwithstanding anything to the contrary in this Order, nothing set forth

herein shall be deemed to limit, impair or affect in any way (i) Seller’s right, title and interest in

Seller’s cash and patient accounts receivable, payor/contractor accounts receivable, Medicare

reimbursements or adjustments and all other accounts receivable (collectively, “Accounts

Receivable”) for services rendered or goods sold prior to the Closing Date, which cash and

Accounts Receivable remain the property of Seller as Excluded Assets and shall be reimbursed

to Seller if received by Purchaser nor (ii) Seller’s ability to complete any remaining billing for



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services rendered or goods sold prior to the Closing Date under Seller’s Medicare provider

number. Purchaser agrees that it will provide Seller (or Seller’s billing agent) with reasonable

access to the Participating Provider Agreement, Books and Records and Governmental

Authorizations as may be necessary in order for Seller to facilitate billing and collecting for

services furnished to Medicare beneficiaries by Seller.

                          33.      Notwithstanding anything to the contrary in the Agreement or any

document relating to the Sale, the Purchased Assets shall not include (i) any cause of action or

proceeds of such cause of action under chapter 5 of the Bankruptcy Code or applicable state law

equivalents; (ii) any commercial or other tort claims arising on or before the closing date of the

Sale, or any proceeds of such claims, including, without limitation, any and all causes of action

(a) against present and former directors and officers of the Debtors and/or any of their affiliates,

(b) against direct and indirect equity holders of the Debtors and/or their affiliates, and (c) of the

Debtors and/or any of their affiliates against any other Debtors; and (iii) any claims or causes of

action against the Debtors’ contract counterparties (other than claims or causes of action arising

under any contract that is assumed by the Debtors), or any proceeds of such claims or causes of

action.

                          34.      Notwithstanding the provisions of Fed. R. Bankr. P. 6004(h), 6006(d), and

7062, this Order shall be effective and enforceable immediately upon entry.



                          34.      Notwithstanding the provisions of Fed. R. Bankr. P. 6004(h), 6006(d), and

7062, this Order shall be effective and enforceable (i) immediately upon its entry, with respect to

the relief granted in this paragraph and (ii) seven calendar days following the time of its entry, as

to all other relief. Prior to the earlier of (i) the Closing or (ii) seven calendar days following the

full effectiveness and enforceability of this Order, no person (including, for the avoidance of

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doubt, any governmental agency or department), other than the Debtor and its affiliated debtors-

in-possession, may take or cause any other person to take any action with respect to or affecting

the Purchased Assets, including the Participating Provider Agreement, that in any way would

affect the ownership, transferability, validity, enforceability, or effectiveness of the Purchased

Assets, or the performance or consummation of the Transaction or any of the decrees herein. For

the avoidance of doubt, the foregoing sentence is not intended, nor shall it be construed, to

preclude (i) CMS from appealing or seeking a stay pending appeal of this Order or (ii) the

Purchaser from exercising any right to terminate the Agreement pursuant to the terms thereof.

With respect to the Pennsylvania Department of Health (“DOH”), the provisions of this

paragraph 34 shall only apply to stay DOH (1) in its capacity as a state survey agency and/or (2)

from taking any further steps in connection with the Debtor’s closure process or otherwise

seeking the revocation, surrender and/or termination of the Debtor’s hospital license.

                          35.      Provided that the Closing occurs within seven calendar days following the

effectiveness and enforceability of this Order, the findings of fact and conclusions of law set

forth in this Order shall, for all purposes related to the Order and the Transaction, be deemed to

have been made as of the Closing.




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                                    EXHIBIT A

                         ASSET PURCHASE AGREEMENT




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                                    EXHIBIT B

                             ASSIGNED CONTRACTS




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   No.                  Counterparty/Counterparties                                  Contract Type and Description                        Maximum Cure
                                                                                                                                            Amount
     1       Abington Memorial Hospital                            Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
                                                                   2020
     2       Abington Memorial Hospital                            Agreement for Clinical Rotations with Center City Healthcare, LLC,         $0.00
                                                                   d/b/a Hahnemann University Hospital, dated September 14, 2018
     3       Abington Memorial Hospital and Solis Healthcare, LP   Agreement Concerning Family Medicine Training with Tenet                   $0.00
                                                                   HealthSystem Hahnemann, LLC, dated June 23, 2008
     4       The Centers for Medicare and Medicaid Services        Participating Provider Agreement                                       $3,000,000.00
     5       Friends Behavioral Health System, L.P.                Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
                                                                   2020
     6       Friends Behavioral Health System, L.P.                Residency Rotation Agreement with Tenet HealthSystem Hahnemann,            $0.00
                                                                   LLC, dated June 2008
     7       Friends Behavioral Health System, L.P.                Memorandum of Understanding for Residency Rotation Agreement               $0.00
                                                                   with Tenet HealthSystem Hahnemann, LLC
    86       Prime Healthcare Services Roxborough, LLC             Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
                                                                   2020
    97       Solis Healthcare, LP                                  Agreement Regarding Medicare FTE Resident Caps with Tenet                  $0.00
                                                                   HealthSystem Hahnemann, LLC, dated July 1, 2007
   108       Solis Healthcare, LP                                  Second Amendment to Agreement Regarding Medicare FTE Resident              $0.00
                                                                   Caps with Tenet HealthSystem Hahnemann, LLC, dated June 29, 2010
   119       Solis Healthcare, LP and Abington Memorial Hospital   Agreement Concerning Family Medicine Training with Tenet                   $0.00
             (duplicate of #3 above)                               HealthSystem Hahnemann, LLC, dated June 23, 2008
  1210       St. Christopher’s Hospital for Children (co-debtor)   Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
                                                                   2020
  1311       Temple University Hospital and St. Christopher’s      Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
             Hospital for Children (co-debtor)                     2020
  1412       Tower Health                                          Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
                                                                   2020
  1513       Trustees of the University of Pennsylvania            Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
                                                                   2020
  1614       Trustees of the University of Pennsylvania            Agreement regarding Medicare FTE Resident Caps with Tenet                  $0.00
                                                                   HealthSystem Hahnemann, LLC, dated March 30, 2007




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                                    EXHIBIT C

                   BACKUP BID ASSET PURCHASE AGREEMENT




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